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                                                                   ORIGINAL



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           Attorneys for Shogakukan Inc.          cv 19 80 085 MGC
03   10                                  UNITED STATES DISTRICT COURT

     11                               NORTHERN DISTRICT OF CALIFORNIA

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     13
            In re DMCA Subpoena to
                                                           )
                                                           )
                                                               Case No:                                             "'QS
            Cloudflare, Inc.                               )   DECLARATION OF HIROYUKI
     14
                                                           )   NAKAJIMA
     15                                                    )

     16

     17
           I, Hiroyuki Nakajima, declare and testify as follows:
     18
                   1.     1 am an attorney duly licensed to practice law in Japan, 1 represent Shogakukan
     19
           Inc., a Japanese corporation, in the above-entitled proceeding and as such, I am authorized and
     20
           qualified to make this declaration for and on its behalf, and 1 make this declaration for that
     21
           reason,
     22
                  2.      Shogakukan Inc. is seeking a subpoena pursuant to 17 U.S.C. § 512(h) to obtain
     23
           information sufficient to identify the persons infringing its copyrighted works.
     24
                  3.      The purpose for which this subpoena is sought is to obtain the identity of the
     25
           alleged infringers. Such information will only be used for the purpose of protecting rights
     26
           under the Copyright Act (17 U.S.C. § 101, et seq.).
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           In re DMCA Subpoena to Cloudflare. Inc.
           Declai-ation of Hiroyuki Nakajima
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